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 8                              IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                             FRESNO DIVISION
11

12
       SAM DRAKE,                                            1:17-CV-01500-KES-SAB
13
                                               Plaintiff, DEFENDANT’S OPPOSITION TO
14                                                        PLAINTIFF’S MOTION FOR
                      v.                                  ATTENDANCE OF INCARCERATED
15                                                        WITNESSES (ECF No. 150)
16     KERNAN, et al.,                                       Judge:   The Honorable Kirk E.
                                                                      Sherriff
17                                          Defendants. Trial Date:   November 4, 2025
                                                        Action Filed: November 7, 2017
18

19                                             INTRODUCTION

20           Although Plaintiff’s declaration avers that incarcerated witnesses Fields and James have

21     knowledge of relevant facts, Plaintiff fails to establish that these witnesses have agreed to testify

22     at the November 4, 2025 trial set in this matter. Rather, he relies on conversations with them

23     which occurred in 2015, ten years before this trial date was set. Plaintiff also fails to demonstrate

24     that Fields or James have agreed to testify in person at this trial and also fails to demonstrate good

25     cause or compelling circumstances to allow them testify by videoconference under Federal Rule

26     of Civil Procedure 43. For these reasons, Plaintiff’s motion for attendance of incarcerated

27     witnesses should be denied. Alternatively, Defendant asserts that Fields and James should be

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              DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR ATTENDANCE OF INCARCERATED
                                                            WITNESSES (1:17-CV-01500-KES-SAB)
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 1     required to testify at trial in person so that the finder of fact can observe their demeanor and judge

 2     their credibility.

 3                                                  ARGUMENT

 4     I.    PLAINTIFF DOES NOT DEMONSTRATE THAT THE INCARCERATED WITNESSES ARE
             WILLING TO TESTIFY AT THIS TRIAL.
 5

 6           While Plaintiff states that, when he last spoke with them in 2015, the incarcerated witnesses

 7     Fields and James were willing to testify at trial, Plaintiff fails to establish that either Fields or

 8     James are willing to testify in person at the trial presently scheduled to begin on November 4,

 9     2025. (ECF No. 150 at 4:6-10.) Plaintiff does not state that either witness is available to testify on

10     that date, or whether he has even discussed the current trial date with them. (Id.) Thus, it is

11     unclear whether either witness would be unavailable due to a previously-scheduled hearing in

12     another court case, a medical appointment, or for some other reason. Therefore, Plaintiff fails to

13     comply with the directive contained in the Trial Scheduling Order and the motion should be

14     denied for that reason.

15     II.   THESE WITNESSES SHOULD TESTIFY IN PERSON.
16           Plaintiff states that in 2015, Fields and James were willing to testify at trial if they appeared

17     by videoconference. (Id.) As noted by the Trial Scheduling Order, the purpose of requiring a

18     motion for attendance of incarcerated witnesses is to satisfy the Court that the witness has actual

19     knowledge of relevant facts and can testify to those facts if transported to the Court for trial. (ECF

20     No. 149 at 2:16-22.) By stating only that these witnesses agreed to testify by videoconference ten

21     years ago, Plaintiff fails to comply with the Trial Scheduling Order and this motion should be

22     denied for this reason.

23           Further, Plaintiff has not established good cause or compelling circumstances to allow

24     Fields or James to testify by videoconference under Federal Rule of Civil Procedure 43. He

25     provides no reasons why these witnesses could not be transported to this Court to testify in

26     person. Defendant intends to challenge the credibility of these witnesses by demonstrating that

27     they could not have personal knowledge of the facts contained in this motion. Defendant submits

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              DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR ATTENDANCE OF INCARCERATED
                                                            WITNESSES (1:17-CV-01500-KES-SAB)
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 1     that they should be required to testify in person so that the jury can properly observe their

 2     demeanor and evaluate their testimony.

 3                                               CONCLUSION

 4           For the foregoing reasons, the motion for attendance of incarcerated persons and the

 5     requests to allow these persons to testify by videoconference should be denied.

 6     Dated: June 24, 2025                                  Respectfully submitted,
 7                                                           ROB BONTA
                                                             Attorney General of California
 8                                                           JOANNA B. HOOD
                                                             Supervising Deputy Attorney General
 9

10
                                                             /s/ R. Lawrence Bragg
11                                                           R. LAWRENCE BRAGG
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12                                                           Attorneys for Defendant M. Gonzales
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              DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR ATTENDANCE OF INCARCERATED
                                                            WITNESSES (1:17-CV-01500-KES-SAB)
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                              CERTIFICATE OF SERVICE
Case Name:      Sam Drake (J10892) v.                    No.    1:17-CV-01500-KES-SAB
                Kernan, et al.

I hereby certify that on June 24, 2025, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
     DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR
      ATTENDANCE OF INCARCERATED WITNESSES (ECF No. 150)
Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service with postage thereon fully prepaid that same day in the ordinary course of
business.
I further certify that some of the participants in the case are not registered CM/ECF users. On
June 24, 2025, I have caused to be mailed in the Office of the Attorney General's internal mail
system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched it to
a third party commercial carrier for delivery within three (3) calendar days to the following non-
CM/ECF participants:

Sam Douglas Drake, 0624897
Fresno County Jail
1225 M Street
Fresno, CA 93712
In Pro Per

I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on June 24,
2025, at Sacramento, California.


                A. Zamora                                          /s/ A. Zamora
                Declarant                                             Signature

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